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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                        NO. 01-282

DAWRAIL GIVENS                                                SECTION “R”


                             ORDER AND REASONS

     Defendant Dawrail Givens petitions this Court to grant his

Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255.   On June 24, 2005, Givens requested an extension

of time to reply to the Government’s answer to his motion.                The

Court granted Givens until July 29, 2005, to file his reply.

Because Givens’ extension has now expired, the Court proceeds to

rule on the merits of Givens’ motion.        For the following reasons,

the Court DENIES Givens’ motion.

I. BACKGROUND

     On October 31, 2003, Givens pleaded guilty to one count of

using juveniles to distribute heroin, in violation of 21 U.S.C.

§§ 841(a)(1) and 861(a)(1).       The government and Givens entered a

plea agreement under Fed. R. Crim. P. 11(c)(1)(C) in which the
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government agreed to drop the other two counts in the indictment,

which charged Givens with conspiracy to distribute more than one

kilogram of heroin under 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and

(C) and 846, and with conspiracy to possess a gun in furtherance

of a drug trafficking crime under 18 U.S.C. § 924(o).            The

government also agreed that Givens would be sentenced to no more

than 15 years in prison.     In return, Givens pleaded guilty to the

count of using juveniles to distribute drugs, as well as to a

bill of information under 21 U.S.C. § 851 that charged him as a

multiple offender on the basis of two prior felony drug

convictions.   Givens also expressly waived his “right to appeal

his sentence on any ground” and he further “agree[d] not to

contest his sentence in any post-conviction proceeding, including

but not limited to a proceeding under Title 28, United States

Code, Section 2255.”    Finally, Givens agreed in a two-page

factual basis that he gave heroin and cocaine hydrochloride to

three juveniles so that they could resell the drugs on the

streets, that the juveniles used abandoned apartments to store

drugs and guns, and that Givens was responsible for at least 100

grams but less than 400 grams of heroin.

     At sentencing, the Court assigned Givens a total offense

level of 31.   To reach that offense level, the Court considered

and rejected Givens’ objections to enhancements for possession of

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a dangerous weapon under U.S.S.G. § 2D1.1(b)(1) and for his

leadership role in the offense under U.S.S.G. 3B1.1(b).             The

Court also rejected Givens’ objection that imposing a leadership

role enhancement in conjunction with an enhancement for involving

juveniles in the criminal activity constituted impermissible

“double counting.”    Finally, the Court rejected Givens’ objection

to the presentence report’s finding that he committed the offense

less than two years after his release from custody on another

offense in Mississippi.      The Court sustained the Government’s

objection that the two-level enhancement for Givens’ role in the

offense under U.S.S.G. § 3B.1.1(b) should properly be a three-

level enhancement because Givens was a manager or supervisor of

criminal activity that included five or more people or was

otherwise extensive.    The Court also determined that Givens had a

criminal history category of IV, which resulted in a guideline

sentencing range of 151-181 months imprisonment.

     On March 24, 2004, the Court accepted the plea agreement and

entered judgment against Givens, sentencing him to a term of 180

months imprisonment, within the guideline range and in accordance

with the plea agreement between the Government and Givens that

Givens would receive a maximum of 15 years.

     On March 25, 2005, Givens filed this timely petition for

post-conviction relief under 28 U.S.C. § 2255.          In his petition,

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Givens alleges that his counsel provided ineffective assistance

when he failed to clear up Givens’ confusion about the length of

the sentence he faced if he pleaded guilty and failed to inform

Givens that his sentencing Guideline range might be enhanced

based on Givens’ role as a supervisor of criminal activity that

included five or more people.      Givens also asserts that his

attorney provided ineffective assistance by counseling Givens to

accept a plea agreement that contained a waiver of appeal rights.

Finally, Givens contends that his counsel was ineffective because

he failed to properly contest the sentence enhancements, and

because he failed to pursue a direct appeal on those issues.

II. DISCUSSION

     A.     Waiver of Appeal Rights

     Generally, a defendant may waive his statutory right to

appeal as part of a plea bargaining agreement.          United States v.

Henderson, 72 F.3d 463, 465 (5th. Cir. 1995).          A knowing and

voluntary waiver of the right to bring a post-conviction

proceeding bars a petitioner from receiving post-conviction

relief.    See United States v. Wilkes, 20 F.3d 651, 653 (5th Cir.

1994).    A defendant’s waiver of appeal in a plea agreement,

however, “may not enforced against a section 2255 petitioner who

claims that ineffective assistance of counsel rendered that

waiver unknowing or involuntary.”       United States v. White, 307

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F.3d 336, 341 (5th Cir. 2002).      A successful ineffective

assistance of counsel claim obviates a waiver only if the

ineffective assistance of counsel directly affects the validity

of the waiver or the plea itself.       Id. at 343.

     Here, the evidence indicates that Givens’ waiver of appeal

was both knowing and voluntary.      His signed plea agreement

contains an express waiver of his right to appeal or seek relief

under section 2255.    During Givens’ re-arraignment, the Court

summarized the indictment, noted the mandatory minimum and

maximum terms of imprisonment under the statute, and specifically

questioned Givens about his appeal waiver.         (See Trans. of

Rearr., Govt.’s Opp. to Def.’s Mot., Ex. C at 10-12).            Givens

informed the Court that he understood that he was waiving his

right to appeal his sentence under any circumstances. (See id.).

Givens’ “[s]olemn declarations in open court carry a strong

presumption of verity.”      Blackledge v. Allison, 431 U.S. 63, 73-

74 (1977).

     Givens now appears to contend, however, that his waiver of

appeal was tainted by ineffective assistance of counsel.             Givens

asserts that his counsel unduly pressured and improperly

counseled Givens to accept the agreement and thereby waive his

right to appeal.    Accordingly, the Court will consider whether

Givens received ineffective assistance of counsel with respect to

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his appeal waiver.

      B.     Ineffective Assistance of Counsel at Plea Stage

      To establish a claim of constitutionally ineffective

assistance of counsel, a petitioner must show both that 1) his

counsel’s performance fell below the objective standard of

reasonableness, and 2) that but for counsel’s deficient

performance, the likely outcome of the proceeding would have been

different.        See Strickland v. Washington, 466 U.S. 668, 687-96

(1984).    A petitioner must meet both prongs of the Strickland

test to succeed.        See id. at 687.      On the first element, the

Court applies a highly deferential standard to the examination of

counsel’s performance.         See id.    The second, or prejudice,

element of Strickland requires a petitioner to show that “there

is a reasonable probability that, but for counsel’ unprofessional

errors, the result of the proceeding would have been different.”

Strickland, 466 U.S. at 694.         “A reasonable probability is a

probability sufficient to undermine confidence in the outcome.”

Id.   If a petitioner fails to establish either deficient

performance or actual prejudice, the Court may dispose of the

claim without addressing the other prong.             Id. at 697.

             1.     Deficient Performance

      Givens has not shown that his counsel’s performance in

counseling Givens to accept a plea agreement that included a

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waiver of appeal rights was deficient.        First, the record belies

Givens’ claim that his counsel pressured him to accept the plea

agreement, because Givens responded negatively when asked at his

re-arraignment whether he had been threatened to make the

agreement, and he repeatedly affirmed that he was pleading guilty

voluntarily.    (See Trans. of Rearr., Govt.’s Opp. to Def.’s Mot.,

Ex. C at 11).   Givens has produced no evidence that would refute

his own sworn testimony that he was pleading guilty voluntarily.

     Second, that Givens’ counsel successfully negotiated a plea

agreement under which Givens received substantial benefits

indicates that his performance was not deficient.            As a result of

the plea agreement, the government dropped two counts of the

superseding indictment, which allowed Givens to avoid a mandatory

minimum sentence of life imprisonment as a multiple felony drug

offender.   21 U.S.C. § 841(b)(1)(A).       Also as a result of the

agreement, Givens’ sentence on the count to which he pleaded

guilty was limited to 15 years imprisonment, even though he faced

a statutory maximum of 60 years.        In return for these benefits

and to avoid the substantial risk that he would be convicted on

charges that would subject him to a mandatory life sentence,

Givens agreed, among other things, to plead guilty to the

remaining count and to waive his right to appeal his sentence.

The Court is unable to say that counseling Givens to accept this

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plea agreement falls outside the range of competence required of

a defense attorney under the deferential Strickland standard.

     Further, the Court finds no evidence to support Givens’

assertion that he received ineffective assistance of counsel

because his counsel did not ensure that he understood the terms

of the plea agreement or of his potential sentence exposure.

Givens confirmed during his re-arraignment that he understood

that he faced a statutory maximum sentence of 60 years, a

mandatory minimum of one year, and, if his plea agreement were

accepted, an agreed maximum of 15 years.        (See Trans. of Rearr.

at 4-6, 10-12).    Givens also informed the Court that he

understood that the Court would decide what sentence to impose

under the 15 year cap if the Court accepted the plea agreement

and that the sentence would be based on the Court’s analysis of

the guidelines.    (See id. at 6, 14).1     Givens’ counsel affirmed

that he had not made any representations as to what sentence the

Court would actually impose.      (See id. at 15).      The record

therefore rebuts Givens’ unsupported assertions that his


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         The transcript states:

     THE COURT: AND DO YOU UNDERSTAND THAT EVEN IF I ACCEPT THE
PLEA AGREEMENT AND IT CAPS OUT AT 15 YEARS AND I AGREE WITH THAT,
THAT WHAT SENTENCE I ACTUALLY GIVE YOU UNDER THE 15 YEARS IS
GOING TO BE MY DECISION BASED ON MY ANALYSIS OF THE GUIDELINES AS
THEY APPLY TO YOU?
     DEFENDANT, DAWRAIL GIVENS: YES, MA’AM.

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counsel’s performance was defective with respect to his advice

regarding the plea agreement.

          2.     Prejudice

     Givens has also not met the prejudice prong of Strickland

because he has not shown that, but for his counsel’s allegedly

erroneous advice, he would not have pleaded guilty or waived his

appeal rights.   Whether a petitioner is able to argue

persuasively that he was prejudiced by erroneous advice depends

partly on his chances for success at trial.         See Magnum v.

Hargett, 67 F.3d 80, 84 (5th Cir. 1995); Armstead, 37 F.3d at

210-11 (noting that strong evidence of defendant’s guilt and

longer potential sentence if convicted refuted defendant’s

assertion that but for counsel’s advice, he would have rejected

the plea bargain).    Here, Givens’ alleged co-conspirators had

already been convicted using the same evidence that would have

been introduced at Givens’ trial.       The Court presided over the

trial of Givens’ co-conspirators, and the evidence against Givens

was substantial.    Furthermore, by pleading guilty instead of

proceeding to trial, Givens avoided a substantial risk that he

would be convicted of a charge that carried a mandatory life

sentence, and his sentence on the count to which he pleaded

guilty was limited to a maximum of 15 years.          Givens has produced

no evidence, and the Court finds it unlikely that, under the

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circumstances, i.e., the favorable, negotiated plea, the evidence

the government had against Givens, and the potential consequences

of proceeding to trial, Givens would have decided to proceed to

trial but for the allegedly erroneous advice he received.             See

Magnum, 67 F.3d at 86.      Givens therefore has failed to

demonstrate either deficient performance or prejudice, and his

claim that his counsel rendered ineffective assistance that

invalidates his plea or his appeal waiver must fail.

     C.   Ineffective Assistance of Counsel at Other Stages

     The remainder of Givens’ petition challenges the

effectiveness of his counsel at sentencing and his counsel’s

failure to file a direct appeal of Givens’ sentence.            Givens’

challenges to the effectiveness of his counsel that do not

directly affect the validity of his plea are barred by Givens’

waiver of his right to appeal, which the Court has found was

knowing and voluntary and not tainted by ineffective assistance

of counsel.   See White, 307 F.3d at 341-42 (citing with approval

authority which holds that the ineffective assistance of counsel

exception to waivers of appeal is limited to cases that directly

implicate the waiver and does not extend to cases that merely

challenge the attorney’s performance at sentencing).            The Court

therefore refuses to consider the merits of Givens’ remaining

challenges to his counsel’s performance at sentencing and to his

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counsel’s failure to file a direct appeal.

III. CONCLUSION

     For the foregoing reasons, this Court DENIES petitioner’s

§ 2255 motion to vacate, set aside, or correct the sentence.

                                   19th day of August, 2005.
     New Orleans, Louisiana, this ______




                     ___________________________
                            SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE




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